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IN THE UNITED sTATEs DISTRICT coURT "'*- .. €'?.C.
FoR THE wEsTERN DISTRICT oF TENNESSEE 95 JUP,_. m 5
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RENATA SEIFERT and HORST SEIFERT,

 

Plaintiffs,

v. No. 04~2616 Ma/P
MUSA HOLDINGS, INC.; LASER VISION
INSTITUTE d/b/a LASIK VISION
INSTITUTE; and

DAVID S. MURPHY, M.D.,

Defendants.

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ORDER GRANTING DEFENDANT MUSA HOLDINGS, INC.'S MOTION TO DISMISS
COUNT I AND COUNT V OF COMPLAINT

 

Plaintiffs Renata Seifert and Horst Seifert (the “Seiferts”)
bring suit on behalf of themselves and. a class of similarly
situated persons against the Defendants alleging five counts: 1)
violation of the Tennessee Consumer Protection Act, T.C.A. § 47-18-
104 et §§gé; 2) breach of contract; 3) fraud; 4) money had and
received; and 5) medical malpractice. (Compl. at II 20-44.) Before
the court is defendant MUSA Holdings, Inc.’s (“MUSA”) “Motion to
Dismiss Count I and Count V of Complaint,” filed on November 12,
2004. The Seiferts filed a response on December 28, 2004. MUSA
filed a reply on January 5, 2005. The court entered an order on
April 22, 2005, instructing the parties to submit additional

memoranda. On May 18, 2005, MUSA filed a supplemental memorandum,

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and on May 20, 2005, the Seiferts filed a supplemental memorandum.
I. Jurisdiction

The Seiferts are residents of Tennessee. (Compl. at q l.)
Defendant MUSA is a foreign corporation domiciled in the state of
Florida. (Ans. at T 2.) Defendants LASIK Vision Institute and Laser
Vision Institute are “corporations or limited liability companies
domiciled in the State of Florida.” {Compl. at ““ 3, 4.) Defendant
David S. Murphy is an ophthalmologist practicing in the State of
Arkansas. (Id. at H 6.) Therefore, based on the citizenship of the
parties alleged in the Seiferts' Complaint, complete diversity
exists and this court has jurisdiction under 28 U.S.C. § 1332.
II. Background

Renata Seifert alleges that she was injured during an eye
surgery procedure performed on November 25, 2002. The Seiferts
originally brought suit against LASIK'Vision Institute (“LASIK”) in
Renata and Horst Seifert v. LASIK Vision Institute, Case No. 04-
2336 BP, (“the original suit") filed in the Western District of
Tennessee on November 21, 2003. Upon receiving LASIK's Rule 26
disclosures the Seiferts learned that LASIK was owned by MUSA, and
on July 29, 2004, they filed a nwtidn to amend the original
Complaint to add MUSA as a defendant. (Pl.’s Suppl. Mem. at 2-3.)
The Seiferts then filed a second lawsuit, Case No. 04-2616 (“the
second suit”), on August 6, 2004, naming MUSA, among others, as a

defendant. The original suit and the second suit were consolidated

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on August 26, 2004, and the motion to amend the Complaint in the
original suit was dismissed as moot.

III. Analysis

MUSA states that the events giving rise to the Seiferts'
injuries occurred more than one year before the second suit, in
which MUSA is a defendant, was filed. Consequently, MUSA argues
that Count 1, for violation of the Tennessee Consumer Protection
Act, and Count 5, for* medical malpractice, must be dismissed
because they are subject to a one-year statute of limitations.1 The
Seiferts do not dispute MUSA’s factual allegations but argue that
the addition of MUSA should relate back to the filing date of the
original suit.

In an order dated April 21, 2005, this court determined that
the consolidation of the original suit and the second suit would be
treated as a motion to amend the Complaint in the original suit to
add MUSA as a defendant. (April 21, 2005, Order at 4.) Thus, before
determining whether Counts 1 and 5 against MUSA are time»barred,
the court must decide whether to grant the “constructive motion to
amend,” and if so, whether the addition of MUSA relates back to the
filing date of the original suit. Fed. R. Civ. P. 15(a) instructs
the court that leave to amend a complaint shall be “freely given

when justice so requires.” MUSA does not object to its addition as

 

1Count 1, for violation of the Tennessee Consumer Protection Act, is
subject to a one~year statute of limitations under T.C.A. § 47-18-110. Count 5,
for medical malpractice, is subject to a one-year statute of limitations under
T.C.A. § 29-26-116.

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a defendant in this case as long as the addition does not relate
back to the filing date of the original suit. (Def.'s Suppl. Mem.
at 2.) Consequently, the court grants the “constructive motion to
amend” the Seiferts’ Complaint to add MUSA as a defendant.

Fed. R. Civ. P. 15(c) provides that under some circumstances
amendments to pleadings may relate back to the original filing date
of the pleading. Subsection (3) of Rule 15(c) specifically allows
an amendment to a complaint adding or changing the name of a
defendant to relate back to the original filing date when:

the party to be brought in by amendment (A) has received

such notice of the institution of the action that the

party will not be prejudiced in maintaining a defense on

the merits, and (B) knew or should have known that, but

for a rnistake concerning' the identity' of the proper

party, the action would have been brought against the

party.
Fed. R. Civ. P. lB(c)(B).

In the Sixth Circuit the word “mistake” in subsection (B) of
Rule 15(c)(3) has been narrowly construed and relation back of
amendments changing the name of a party is only permitted when the
amendments are “corrections of misnomers.” Collver v. Darlinq, 98
F.3d 211, 220 (6th Cir. 1996) (citing In re Kent Holland Die
Castinq & Platinq, lnC., 928 F.2d 1448, 1450 (6th Cir. 1991)).
Although Rule lS(c)(3) allows the correction of misnomers, it does
not allow “the addition or substitution of new parties after the

statute of limitations has expired.” In re Kent Holland, 928 F.2d

at 1450. Consequently, in the Sixth Circuit “an amendment which

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adds a new party creates a new cause of action and there is no
relation back to the original filing for purposes of limitations.”
Id. at 1449 (internal quotes and citations omitted).

In E.E.O.C. v. Regencv'Windsor Manaqement Co., 862 F.Supp. 189
(W.D. Mich. 1994), an apartment complex was owned by a company
called Oakbrook and was managed by Oakbrook's agent, a company
called Windsor. The EEOC, suing on behalf of a “1easing
consultant/leasing manager" at the apartment complex named only
Windsor as a defendant in the original complaint. “When it became
apparent during discovery that both Oakbrook and Windsor, and both
of them jointly, might satisfy the definition of ‘employer' under
the ADEA, plaintiff moved and was permitted to add Oakbrook.” Id.
at 190. The court, however, held that the addition of Oakbrook as
a defendant did not relate back to the original filing date:

Plaintiff's first amended complaint does not correct a

“misnomer;” it adds a party. To the extent plaintiff may

have erred in its determination that Windsor alone was

[the] employer, it is an error for which Rule 15(c)

provides no remedy. It was plaintiff's responsibility to

investigate and discover the pertinent facts and it is

not entitled to any tolling of the limitation period

while doing sO.
Id. at 190-91.

In Lee v. Toshiba Mach. Co. of America, 804 F.Supp. 1029 (E.D.
Tenn. 1992), the plaintiff sought to add as defendants the Japanese
parent companies of two domestic subsidiaries that were named as

the original defendants in the suit. The court held that the

addition of the parent companies did not relate back to the filing

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date of the suit against the two domestic subsidiaries because
there was no mistake or misnomer. The Lee court stated:

Here, the plaintiff was simply in error about who

manufactured what. There was no misnomer; the plaintiff,

without knowing it at first, wanted to sue all four
corporations, the manufacturers as well as the marketer

and the service company. It was her responsibility to

investigate and discover the pertinent facts, and she was

not entitled to any tolling of the limitation period

while she was doing so.

It is perfectly legitimate for a business enterprise to

be organized as a corporation with wholly owned,

corporate subsidiaries. The law treats such parent and

subsidiary corporations as separate parties in the
absence of strong evidence why their separateness should

be disregarded.

Id. at 1034-35 (internal citations omitted).

The Seiferts’ amendment does not seek to correct a mistake or
misnomer. Rather the Seiferts have obtained new information that
LASIK is owned by MUSA and they seek to add MUSA as an additional
defendant. (Pl.'s Suppl. Mem. at 2-3.) The Seiferts do not allege
that MUSA's and LASIK’s corporate forms should be disregarded.2
Consequently, in the Sixth Circuit, the Seifert's addition of MUSA
does not relate back under Fed. R. Civ. P. 15(c)(3).

Fed. R. Civ. P. 15(c)(1) allows an amended complaint to relate
back when “relation back is permitted by the law that provides the

statute of limitations applicable to the action.” This section was

added in 1991 and the Advisory Committee Notes from the time state:

 

2
The Seiferts allege that LASIK and MUSA share the same address and share

corporate officers. {Compl. at H 5.) They argue, however, only that this means
MUSA had notice of the original suit. (Pl.’s Suppl. Mem. at 3-4.)

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This provision is new. It is intended to make it clear
that the rule does not apply to preclude any relation
back that may be permitted under the applicable
limitations law. Generally, the applicable limitations
law will be state law. . . . Whatever may be the
controlling body of limitations law, if that law affords
a more forgiving principle of relation back than the one
provided in this rule, it should be available to save the
claim.

Fed. R. Civ. P. 15(c)(1) Advisory Committee Notes.

The Sixth Circuit applied Rule 15{c)(1) in Lovelace v. O'Hara,
985 F.2d 847 (6th Cir. 1993). In Lovelace, the court found that the
addition of a defendant under Rule 15(c)(1) did not relate back to
the original filing date because the statute that provided the
limitation period contained “no specific provision for relation
back.” ld; at 852. In Oros v. Hull & Associates, 217 F.R.D. 401
(N.D. Ohio 2003), the district court applied Lovelace as follows:

Since the 1991 amendments adding section (c)(l) to Rule
15, the Sixth Circuit has cited the provision only once.
In that case, Lovelace v. O'Hara, 985 F.2d 847, 851-52
{6th Cir. 1993), the court stated that the plaintiff
could not use section 15(c)(1) relation back principles
to save a 42 U.S.C. § 1983 claim asserted in an amended
complaint, because while Kentucky law provided the
statute of limitations, the particular statute in
question “contain[ed] no specific provision for relation
back.” ld; at 852. Though Kentucky rules of civil
procedure permitted relation back, its limitations
statute did not specifically permit relation back.

In this case, Plaintiff’s claims against [Defendant] are
authorized under Ohio law and are governed by O.R.C. §
2305.10. Since Lovelace was decided, Rule 15(c)(1) has
not been applied in the Sixth Circuit, so the case is
still binding precedent on this court: And while Ohio law
provides for relation back pursuant to the Ohio Rules of
Civil Procedure, O.R.C. § 2305.10 contains no specific
relation back provision. The conclusion follows that the
plaintiff’s amended complaint may not relate back under

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Fed. R. Civ. P. 15(c)(1) because the limitations statute

applicable to this action does not specifically provide

for relation back.

Id. at 404-05.

This court finds the Oros court’s analysis of Lovelace
persuasive. Although the Tennessee Rules of Civil Procedure contain
a relation. back: provision,3 neither T.C.AU § 47-18-110, which
provides the limitations period for Count- 1, nor T.C.A. §
29-26-116, which provides the limitations period for Count 5,
contains a specific relation back. provision. Therefore, Sixth
Circuit precedent compels the conclusion that the addition of MUSA
does not relate back under Fed. R. Civ. P. 15(c)(1).

Absent relation back, the court must consider whether the
causes of action against MUSA under Counts l and 5 are time-barred.
The statute of limitations for Count 1, for 'violation. of the
Tennessee Consumer Protection Act, is governed by T.C.A. § 47-18-
llO:

Any action commenced pursuant to § 47-18~109 shall be

brought within one (1) year from a person's discovery Of

the unlawful act or practice, but in no event shall an

action under § 47-18-109 be brought more than five (5)

years after the date of the consumer transaction giving

rise to the claim for relief.

Count 5, for medical malpractice, is subject to the statute of
limitations in T.C.A. § 29-26-116:
(a)(l) The statute of limitations in malpractice actions

shall be one (1) year [after the cause of action
accrued].

 

3Tenn. R. civ. P. 15.03.

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(2) In the event the alleged injury is not discovered
within such one (1) year period, the period of limitation
shall be one (1) year from the date of such discovery.

The only date stated in the Seiferts' Complaint, the Seiferts’
response to MUSA’s motion to dismiss, or the Seiferts’ supplemental
memorandum on MUSA’s motion to dismiss is the date of the eye
surgery, November 25, 2002. Consequently, the court takes the date
of the surgery as the date the Seiferts' claims against MUSA
accrued.4 The Seiferts attempted to add MUSA by amendment of their
Complaint in the original suit on July 29, 2004, and filed the
second suit naming MUSA as a defendant on August 6, 2004.
Regardless of which of those dates is considered the date the
Seiferts brought their claims against MUSA, their claims against

MUSA for violation of the Tennessee Consumer Protection Act and for

Medical Malpractice are time-barred.

 

4The Seiferts have not argued that, even if the addition of MUSA does not
relate back, their claims for violation of the Tennessee Consumer Protection Act
or for medical malpractice are not time-barred because those claims accrued less
than a year before the Seiferts sought to add MUSA as a defendant.

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IV. Conclusion

For the foregoing reasons, defendant MUSA's “Motion to Dismiss
Count I and Count V of Complaint” is GRANTED. Plaintiffs' claims
against defendant MUSA for violation of the Tennessee Consumer

Protection Act and for medical malpractice are DISMISSED.

So ordered this A:nl day of June 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Honorable Samuel Mays
US DISTRICT COURT

